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IN THE UNITED STATES DISTRICT COURT FH'ED dr `
FOR THE WESTERN DISTRICT OF TENNESSEE c
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UNITED sTATEs oF AMERICA, ._f;{;§?s;:; ‘».§jiz- 'JLFC;,TQ
Plaintiff,
vs. Case No. 04-CR20172-Ma
DANIEL WALLACE MCLENNAN
Defendant.

ORDER REFUNDING CASH APPEARANCE BOND

This matter comes before the Court on a motion for refund of the cash appearance bond.

 

It now appears that the defendant has complied with the requirements of said bond and orders of

this Court.

and discharged; and the Clerk is directed to issue a check on the Registry in the Sum of $1,000.00,

payable to Brenda Mclennan at 1086 Peabody # 23 Memphis TN 38106 in full refund of the cash

<WM.`

SAMUEL H MAYS, JR.
United States District Judge

appearance bond posted herein

 

Approved.
Robert R. '

    

rolio, Clerk of ourt

BY:
Deputy Cle

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Tnis elect mem entered on the docket sheet in comp

with Rnle 55 and!or 32tb} FRCrP on 7

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:04-CR-20172 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Samuel Mays
US DISTRICT COURT

